                                  Case 17-12560-BLS                         Doc 1           Filed 12/04/17           Page 1 of 50


  
    
                                                                                           
    
                                            Delaware
    
                                         
                                                                 11
                                                                                
                                                                                                                                                     





                                                                                                     





                               Woodbridge Group of Companies, LLC
                                                
                                               


                 
                            
                                                
        
                                                
        
                                       

                                               


                    4 7 - 5 6 5 3 6 0 3
                                                
        


                                                                 
                                                                                                             


                                                                                                                 

                                                14225 Ventura Boulevard #100
                                                                  
                                                                                                       

                                                                  
                                                                                                                 

                                               Sherman  Oaks, California 91423
                                                                  
                                                                                                                      

                                                                                                                 
                                                                                                                 
                                                Los Angeles
                                                
                                                                                                         
                                                                                                                     

                                                                                                                 

                                                                                                                 
                                                                                                                                           



                    http://woodbridgecompanies.com/
                                                


                             
                                                X 
                                                
                                                


                                                                     
                                   Case 17-12560-BLS                Doc 1        Filed 12/04/17             Page 2 of 50

         Woodbridge Group of Companies, LLC
                                         
               



                                         
   
                                         
                                         
                                         
                                         
                                         
                                         
                                         
                                         X 


                                         

                                         
                                         
                                             
                                         
                                             

                                         
                                             
                                             5    3    1    3
                                             

           
      
                          
                                         
                                         
                                         X 
                                                        
                                                                 
                                                                 
                                                            
                                                             
                                                                 
                                                                 
                                                                 

                                                             
                                                             
                                                                 

                                                             
                                                                 
                                                                 
                                                                 

                                                             
                                                                 
                                         
          
                                         X 
      
                     
                                                                                             
      
                                         
                                                                                            

            
      
                                                         See Rider 1
                                         X     
      
                                       
                                                                                               
                             


                                                          
                             Case 17-12560-BLS                       Doc 1    Filed 12/04/17            Page 3 of 50

       Woodbridge Group of Companies, LLC
                                      
             




     
    
                                       
                                       X 
                                          
                                          

                                       

       
                                       X 
                
    
                            
    
                                                   
                                                     

                                                   
                                                   
                                                      
                                                      

                                                   


                                                 
                                                                                   
                                                                                                             
                                                                            

                                                                                        
                                                                                                                             


                                                 
                                                   
                                                    
                                                               

                                                                       




           



            
                       
                                       X 
                                       

                                                                                               
 
                                                                                             
                                                                 X 
    (on a consolidated basis)                                                                           
                                       

                                                                              
                                                                                                                    X 
 
                                                                      
    (on a consolidated basis)
                                                                     
                                                                  



                                                        
                              Case 17-12560-BLS                     Doc 1          Filed 12/04/17              Page 4 of 50

       Woodbridge Group of Companies, LLC
                                           
             



                                                                                     
                                                                                                                           X 
 
                                                                              
    (on a consolidated basis)
                                                                            
                                                                         


           


 
             


           
    
                                              
    
                                            

                                            
                                              


                                         

                                              12/04/2017
                                                            
                                                            


                                             /s/ Lawrence R. Perkins
                                                             Lawrence  R. Perkins
                                                                                                           
                                                        

                                                   Chief Restructuring Officer
                                                           




 
                                             /s/ Sean M. Beach
                                                                   12/04/2017
                                                                                                                             
                                                                                         



                                              Sean M. Beach
                                              
                                              
                                              Young Conaway Stargatt & Taylor, LLP
                                              
                                              
                                              Rodney Square, 1000 North King Street
                                              
                                                  
                                              Wilmington
                                               Delaware      19801
                                                                                                     
                                                                                                       

                                              (302) 571-6621
                                                                          sbeach@ycst.com
                                                                                                                
                                                                                                 



                                              No. 4070                                              Delaware
                                              
                                                                                          









                                                                
                        Case 17-12560-BLS      Doc 1       Filed 12/04/17       Page 5 of 50
                                                   Rider 1


            The Debtor and each of the affiliated entities listed in the table below filed in this Court a
     voluntary petition for relief under chapter 11 of the United States Code, 11 U.S.C. §§ 101-1532.

Woodbridge Group Of Companies, LLC                     Broadsands Investments, LLC
215 North 12th Street, LLC                             M29 Brynderwen Holding Company, LLC
H31 Addison Park Holding Company, LLC                  Brynderwen Investments, LLC
Addison Park Investments, LLC                          M13 Cablestay Holding Company, LLC
M11 Anchorpoint Holding Company, LLC                    Cablestay Investments, LLC
Anchorpoint Investments, LLC                           M31 Cannington Holding Company, LLC
H32 Arborvitae Holding Company, LLC                     Cannington Investments, LLC
Arborvitae Investments, LLC                             Carbondale Doocy, LLC
M26 Archivolt Holding Company, LLC                     Carbondale Glen Lot A-5, LLC
Archivolt Investments, LLC                              Carbondale Glen Lot D-22, LLC
H2 Arlington Ridge Holding Company, LLC                Carbondale Glen Lot E-24, LLC
Arlington Ridge Investments, LLC                        Carbondale Glen Lot GV-13, LLC
M19 Arrowpoint Holding Company, LLC                    Carbondale Glen Lot SD-23, LLC
Arrowpoint Investments, LLC                            Carbondale Glen Lot SD-14, LLC
H58 Baleroy Holding Company, LLC                       Carbondale Glen Mesa Lot 19, LLC
Baleroy Investments, LLC                                Carbondale Glen River Mesa, LLC
Basswood Holding, LLC                                  Carbondale Glen Sundance Ponds, LLC
H13 Bay Village Holding Company, LLC                   Carbondale Glen Sweetgrass Vista, LLC
Bay Village Investments, LLC                            Carbondale Spruce 101, LLC
H15 Bear Brook Holding Company, LLC                     Carbondale Sundance Lot 15, LLC
Bear Brook Investments, LLC                            Carbondale Sundance Lot 16, LLC
H46 Beech Creek Holding Company, LLC                   M53 Castle Pines Holding Company, LLC
Beech Creek Investments, LLC                            Castle Pines Investments, LLC
H70 Bishop White Holding Company, LLC                   M25 Centershot Holding Company, LLC
Bishop White Investments, LLC                           Centershot Investments, LLC
H53 Black Bass Holding Company, LLC                     M76 Chaplin Holding Company, LLC
Black Bass Investments, LLC                             Chaplin Investments, LLC
H28 Black Locust Holding Company, LLC                   M79 Chestnut Company, LLC
Black Locust Investments, LLC                           Chestnut Investments, LLC
H20 Bluff Point Holding Company, LLC                   H5 Chestnut Ridge Holding Company, LLC
Bluff Point Investments, LLC                            Chestnut Ridge Investments, LLC
H49 Bowman Holding Company, LLC                         M45 Clover Basin Holding Company, LLC
Bowman Investments, LLC                                 Clover Basin Investments, LLC
M27 Brise Soleil Holding Company, LLC                  M51 Coffee Creek Holding Company, LLC
Brise Soleil Investments, LLC                          Coffee Creek Investments, LLC
H40 Bramley Holding Company, LLC                       H56 Craven Holding Company, LLC
Bramley Investments, LLC                                Craven Investments, LLC
M28 Broadsands Holding Company, LLC                     M14 Crossbeam Holding Company, LLC


                                                       1
                          Case 17-12560-BLS   Doc 1       Filed 12/04/17        Page 6 of 50
                                                 Rider 1


Crossbeam Investments, LLC                            M68 Goosebrook Holding Company, LLC
M63 Crowfield Holding Company, LLC                    Goosebrook Investments, LLC
Crowfield Investments, LLC                            H68 Graeme Park Holding Company, LLC
Crystal Valley Holdings, LLC                          Graeme Park Investments, LLC
M92 Crystal Woods Holding Company, LLC                H61 Grand Midway Holding Company, LLC
Crystal Woods Investments, LLC                        Grand Midway Investments, LLC
Cuco Settlement, LLC                                  H26 Gravenstein Holding Company, LLC
M72 Daleville Holding Company, LLC                    Gravenstein Investments, LLC
Daleville Investments, LLC                            H44 Green Gables Holding Company, LLC
M39 Derbyshire Holding Company, LLC                   Green Gables Investments, LLC
Derbyshire Investments, LLC                           H27 Grenadier Holding Company, LLC
H76 Diamond Cove Holding Company, LLC                 Grenadier Investments, LLC
Diamond Cove Investments, LLC                         H41 Grumblethorpe Holding Company, LLC
H14 Dixville Notch Holding Company, LLC               Grumblethorpe Investments, LLC
Dixville Notch Investments, LLC                       M87 Hackmatack Hills Holding Company, LLC
H7 Dogwood Valley Holding Company, LLC                Hackmatack Investments, LLC
Dogwood Valley Investments, LLC                       M56 Haffenburg Holding Company, LLC
M32 Dollis Brook Holding Company, LLC                 Haffenburg Investments, LLC
Dollis Brook Investments, LLC                         H39 Haralson Holding Company, LLC
M9 Donnington Holding Company, LLC                    Haralson Investments, LLC
Donnington Investments, LLC                           M33 Harringworth Holding Company, LLC
M15 Doubleleaf Holding Company, LLC                   Harringworth Investments, LLC
Doubleleaf Investments, LLC                           M80 Hazelpoint Holding Company, LLC
M22 Drawspan Holding Company, LLC                     Hazelpoint Investments, LLC
Drawspan Investments, LLC                             H66 Heilbron Manor Holding Company, LLC
M71 Eldredge Holding Company, LLC                     Heilbron Manor Investments, LLC
Eldredge Investments, LLC                             Hollyline Holdings, LLC
H25 Elstar Holding Company, LLC                       Hollyline Owners, LLC
Elstar Investments, LLC                               H35 Hornbeam Holding Company, LLC
H19 Emerald Lake Holding Company, LLC                 Hornbeam Investments, LLC
Emerald Lake Investments, LLC                         H37 Idared Holding Company, LLC
M24 Fieldpoint Holding Company, LLC                   Idared Investments, LLC
Fieldpoint Investments, LLC                           H74 Imperial Aly Holding Company, LLC
M88 Franconia Notch Holding Company, LLC              Imperial Aly Investments, LLC
Franconia Notch Investments, LLC                      M99 Ironsides Holding Company, LLC
M10 Gateshead Holding Company, LLC                    Ironsides Investments, LLC
Gateshead Investments, LLC                            H43 Lenni Heights Holding Company, LLC
M85 Glenn Rich Holding Company, LLC                   Lenni Heights Investments, LLC
Glenn Rich Investments, LLC                           H6 Lilac Meadow Holding Company, LLC
M93 Goose Rocks Holding Company, LLC                  Lilac Meadow Investments, LLC
Goose Rocks Investments, LLC                          M17 Lincolnshire Holding Company, LLC


                                                      2
                         Case 17-12560-BLS   Doc 1       Filed 12/04/17        Page 7 of 50
                                                Rider 1


Lincolnshire Investments, LLC                        M70 Pinney Holding Company, LLC
M54 Lonetree Holding Company, LLC                    Pinney Investments, LLC
Lonetree Investments, LLC                            H23 Pinova Holding Company, LLC
M40 Longbourn Holding Company, LLC                   Pinova Investments, LLC
Longbourn Investments, LLC                           M34 Quarterpost Holding Company, LLC
M73 Mason Run Holding Company, LLC                   Quarterpost Investments, LLC
Mason Run Investments, LLC                           M57 Ridgecrest Holding Company, LLC
H8 Melody Lane Holding Company, LLC                  Ridgecrest Investments, LLC
Melody Lane Investments, LLC                         M97 Red Woods Holding Company, LLC
M90 Merrimack Valley Holding Company, LLC            Red Woods Investments, LLC
Merrimack Valley Investments, LLC                    M75 Riley Creek Holding Company, LLC
M61 Mineola Holding Company, LLC                     Riley Creek Investments, LLC
Mineola Investments, LLC                             H59 Rising Sun Holding Company, LLC
H16 Monadnock Holding Company, LLC                   Rising Sun Investments, LLC
Monadnock Investments, LLC                           M62 Sagebrook Holding Company, LLC
H60 Moravian Holding Company LLC                     Sagebrook Investments, LLC
Moravian Investments, LLC                            H54 Seven Stars Holding Company, LLC
M67 Mountain Spring Holding Company, LLC             Seven Stars Investments, LLC
Mountain Spring Investments, LLC                     H11 Silk City Holding Company, LLC
M83 Mt. Holly Holding Company, LLC                   Silk City Investments, LLC
Mt. Holly Investments, LLC                           H30 Silver Maple Holding Company, LLC
H38 Mutsu Holding Company, LLC                       Silver Maple Investments, LLC
Mutsu Investments, LLC                               Silverleaf Funding, LLC
M91 Newville Holding Company, LLC                    M41 Silverthorne Holding Company, LLC
Newville Investments, LLC                            Silverthorne Investments, LLC
H51 Old Carbon Holding Company, LLC                  M36 Springline Holding Company, LLC
Old Carbon Investments, LLC                          Springline Investments, LLC
H55 Old Maitland Holding Company, LLC                M49 Squaretop Holding Company, LLC
Old Maitland Investments, LLC                        Squaretop Investments, LLC
M46 Owl Ridge Holding Company, LLC                   H24 Stayman Holding Company, LLC
Owl Ridge Investments, LLC                           Stayman Investments, LLC
H22 Papirovka Holding Company, LLC                   M86 Steele Hill Holding Company, LLC
Papirovka Investments, LLC                           Steele Hill Investments, LLC
H4 Pawtuckaway Holding Company, LLC                  M5 Stepstone Holding Company, LLC
Pawtuckaway Investments, LLC                         Stepstone Investments, LLC
M38 Pemberley Holding Company, LLC                   H9 Strawberry Fields Holding Company, LLC
Pemberley Investments, LLC                           Strawberry Fields Investments, LLC
H17 Pemigewasset Holding Company, LLC                H36 Sturmer Pippin Holding Company, LLC
Pemigewasset Investments, LLC                        Sturmer Pippin Investments, LLC
M95 Pepperwood Holding Company, LLC                  H21 Summerfree Holding Company, LLC
Pepperwood Investments, LLC                          Summerfree Investments, LLC


                                                     3
                         Case 17-12560-BLS   Doc 1       Filed 12/04/17        Page 8 of 50
                                                Rider 1


H47 Summit Cut Holding Company, LLC                  Wildernest Investments, LLC
Summit Cut Investments, LLC                          H52 Willow Grove Holding Company, LLC
H65 Thornbury Farm Holding Company, LLC              Willow Grove Investments, LLC
Thornbury Farm Investments, LLC                      M94 Winding Road Holding Company, LLC
M60 Thunder Basin Holding Company, LLC               Winding Road Investments, LLC
Thunder Basin Investments, LLC                       WMF Management, LLC
M37 Topchord Holding Company, LLC                    Woodbridge Capital Investments, LLC
Topchord Investments, LLC                            Woodbridge Commercial Bridge Loan Fund 1, LLC
M48 Vallecito Holding Company, LLC                   Woodbridge Commercial Bridge Loan Fund 2, LLC
Vallecito Investments, LLC                           Woodbridge Investments, LLC
M74 Varga Holding Company, LLC                       Woodbridge Mezzanine Fund 1, LLC
Varga Investments, LLC                               Woodbridge Mortgage Investment Fund 1, LLC
M50 Wetterhorn Holding Company, LLC                  Woodbridge Mortgage Investment Fund 2, LLC
Wetterhorn Investments, LLC                          Woodbridge Mortgage Investment Fund 3, LLC
H12 White Birch Holding Company, LLC                 Woodbridge Mortgage Investment Fund 3A, LLC
White Birch Investments, LLC                         Woodbridge Mortgage Investment Fund 4, LLC
M43 White Dome Holding Company, LLC                  Woodbridge Structured Funding, LLC
White Dome Investments, LLC                          H29 Zestar Holding Company, LLC
Whiteacre Funding, LLC                               Zestar Investments, LLC
M44 Wildernest Holding Company, LLC




                                                     4
                                  Case 17-12560-BLS                Doc 1           Filed 12/04/17              Page 9 of 50

 Fill in this information to identify the case and this filing:


             Woodbridge Group of Companies, LLC
 Debtor Name __________________________________________________________________

                                                                             Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         X    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         X                                               Combined Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    ______________
        Executed on 12/04/2017                                /s/ Lawrence R. Perkins
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Lawrence R. Perkins
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                                      Case 17-12560-BLS                      Doc 1      Filed 12/04/17            Page 10 of 50

      Fill in this information to identify the case:

      Debtor name Woodbridge Group of Companies, LLC, et al._________________________

      United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                    Check if this is an
      Case number (If known):
                                                                                                                                                       amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                           12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number, and          Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code        email address of creditor            (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                contact                              debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                     professional          unliquidated,   total claim amount and deduction for value of
                                                                                     services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                     government
                                                                                     contracts)
                                                                                                                           Total claim, if    Deduction for       Unsecured
                                                                                                                           partially          value of            claim
                                                                                                                           secured            collateral or
                                                                                                                                              setoff

1    G3 GROUP                                                                        TRADE                                                                              $992,112.50
     8020 FLORAL AVE                          PHONE: (805) 557-1075
     LOS ANGELES, CA 90046                    FAX:
                                              EMAIL: docs@gthreegroup.com


2    DANE COYLE CUSTOM HOMES INC              OPHELIA OVENSON                        TRADE                                                                              $784,207.22
     23945 CALABASAS RD STE 101               PHONE: (805) 857-0198
     CALABASAS, CA 91302                      FAX:
                                              EMAIL:


3    PRECISE INVESTMENT GROUP                                                        COMMISSION                                                                         $679,800.00
     14140 VENTURA BLVD., SUITE 302           PHONE:
     SHERMAN OAKS, CA 91423                   FAX:
                                              EMAIL:


4    BUILDER'S TEAM                                                                  TRADE                                                                              $594,628.33
     8949 SUNSET BLVD # 201                   PHONE: (310) 734-7846
     WEST HOLLYWOOD CA 90069                  FAX:
                                              EMAIL: info@buildersteam.com


5    CITY OF LOS ANGELES                                                             TRADE                                                                              $571,477.45
     PO BOX 30879                             PHONE: (213) 473-3231
     LOS ANGELES, CA 90030-0879               FAX:
                                              EMAIL:


6    JANCKILA CONSTRUCTION INC                BRET BYMAN                             TRADE                                                                              $527,223.00
     75 BUCKSKIN DR                           PHONE: (970) 963-7239
     CARBONDALE, CO 81623                     FAX:
                                              EMAIL: ken@janckilaconstruction.com


7    DAVID GOLDMAN                                                                   COMMISSION                                                                         $379,800.00
     14140 VENTURA BLVD., SUITE 302           PHONE:
     SHERMAN OAKS, CA 91423                   FAX:
                                              EMAIL:


8    OHS DESIGN & DEVELOPMENT LLC             PAUL OH                                TRADE                                                                              $353,700.00
     500 SHATTO PL, #411                      PHONE: (213) 739-1512
     LOS ANGELES, CA 90020                    FAX:
                                              EMAIL: info@ohsdd.com




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                          Page 1
                                       Case 17-12560-BLS                Doc 1      Filed 12/04/17               Page 11 of 50


     Debtor:   Woodbridge Group of Companies, LLC, et al.                                             Case number (if known)



      Name of creditor and complete          Name, telephone number, and        Nature of the claim    Indicate if      Amount of unsecured claim
      mailing address, including zip code    email address of creditor          (for example, trade    claim is         If the claim is fully unsecured, fill in only unsecured
                                             contact                            debts, bank loans,     contingent,      claim amount. If claim is partially secured, fill in
                                                                                professional           unliquidated,    total claim amount and deduction for value of
                                                                                services, and          or disputed      collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff

9     BROOK CHURCH-KOEGEL                                                       COMMISSION                                                                           $349,800.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:


10    THE I-GRACE COMPANY                   JOHN GASPARYAN                      TRADE                                                                                $284,081.41
      1964 WESTWOOD BLVD, STE 425           PHONE: (310) 645-1555
      LOS ANGELES, CA 90025                 FAX:
                                            EMAIL: info@igrace.com


11    NICOLE WALKER                                                             COMMISSION                                                                           $279,800.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:


12    DARIN BAKER                                                               COMMISSION                                                                           $229,800.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:


13    SEAN RENNINGER                                                            COMMISSION                                                                           $229,191.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:


14    KAA DESIGN GROUP INC                                                      TRADE                                                                                $172,383.50
      4201 REDWOOD AVE                      PHONE: (310) 821-1400
      LOS ANGELES, CA 90066                 FAX:
                                            EMAIL:


15    LOS ANGELES DEPT OF WATER AND POWER                                       TRADE                                                                                $154,615.98
      PO BOX 30808                        PHONE: (800) 342-5397
      LOS ANGELES CA 90030-0808           FAX:
                                          EMAIL:


16    JOHN LABIB & ASSOCIATES               JOHN LABIB                          TRADE                                                                                $132,390.00
      STRUCTURAL ENGINEERS LLP              PHONE: (213) 239-9700
      319 MAIN ST                           FAX:
      EL SEGUNDO, CA 90245                  EMAIL: info@labibse.com


17    KIM TAVARES                                                               COMMISSION                                                                           $100,473.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:


18    ALBA ENVIRONMENTAL SERVICES INC                                           TRADE                                                                                 $92,080.00
      237 WEST 35TH STREET, STE 303         PHONE: (917) 217-0459
      NEW YORK, NY 10001                    FAX:
                                            EMAIL: info@albademo.com


19    BT CONSTRUCTION & DEVELOPMENT         BIANCA TORSARKISSIAN                TRADE                                                                                 $88,530.39
      23036 BURBANK BLVD                    PHONE: (818) 274-2624
      WOODLAND HILLS, CA 91367              FAX:
                                            EMAIL: btconstruction@mac.com


20    STEVE GLICK                                                               COMMISSION                                                                            $73,898.00
      14140 VENTURA BLVD., SUITE 302        PHONE:
      SHERMAN OAKS, CA 91423                FAX:
                                            EMAIL:




     Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        Page 2
                                       Case 17-12560-BLS                        Doc 1      Filed 12/04/17               Page 12 of 50

     Debtor   Woodbridge Group of Companies, LLC, et al.                                                      Case number (if known)______________________________


      Name of creditor and complete               Name, telephone number, and           Nature of the claim   Indicate if       Amount of unsecured claim
      mailing address, including zip code         email address of creditor             (for example, trade   claim is          If the claim is fully unsecured, fill in only unsecured
                                                  contact                               debts, bank loans,    contingent,       claim amount. If claim is partially secured, fill in
                                                                                        professional          unliquidated,     total claim amount and deduction for value of
                                                                                        services, and         or disputed       collateral or setoff to calculate unsecured claim.
                                                                                        government
                                                                                        contracts)
                                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                                partially          value of            claim
                                                                                                                                secured            collateral or
                                                                                                                                                   setoff

21    BOSWELL CONSTRUCTION                       YESSICA CRUZ                           TRADE                                                                                 $70,902.80
      17071 VENTURA BLVD STE 201                 PHONE: (818) 668-3116
      ENCINO, CA 91316                           FAX:
                                                 EMAIL: info@buildboswell.com


22    HM DG INC                                  HASSAN MAJD                            TRADE                                                                                 $68,234.23
      4154 PICO BLVD                             PHONE: (323) 643-4780
      LOS ANGELES CA 90019                       FAX:
                                                 EMAIL: info@hmdginc.com


23    STUDIO TIM CAMPBELL                                                               TRADE                                                                                 $62,748.74
      3820 WILLAT AVE                            PHONE:
      CULVER CITY, CA 90232                      FAX:
                                                 EMAIL: info@studiomk26.com


24    PLUS DEVELOPMENT LLC                                                              TRADE                                                                                 $61,700.00
      8920 W SUNSET BLVD STE 200A                PHONE: (424) 274-3881
      WEST HOLLYWOOD, CA 90069                   FAX:
                                                 EMAIL: la@plusdevelopmentgroup.com


25    A LOGAN INSURANCE BROKERAGE                                                       TRADE                                                                                 $59,481.96
      260 WEST 36TH ST 3RD FLOOR                 PHONE: (212) 375-9050
      NEW YORK, NY 10018                         FAX:
                                                 EMAIL: info@aloganins.com


26    WALKER WORKSHOP DESIGN BUILD               NOAH WALKER                            TRADE                                                                                 $59,460.96
      5574 W WASHINGTON BLVD                     PHONE: (310) 752-9929
      LOS ANGELES, CA 90016                      FAX:
                                                 EMAIL: info@walkerworkshop.com


27    STANDARD LLP                                                                      TRADE                                                                                 $55,000.00
      4411 SANTA MONICA BLVD                     PHONE: (323) 662-1000
      LOS ANGELES, CA 90029                      FAX:
                                                 EMAIL: info@standardarchitecture.com


28    STUDIOMK27 ARQUITETOS L TDA                                                       TRADE                                                                                 $45,000.00
      AL TIETE, 505 CERQUEIRA CESAR 01417-02     PHONE:
      SAO PAULO SP BRAZIL +5511 3081 3522        FAX:
      CNPJ: 48.071.609/0001-88/ CCM: 8.274.215   EMAIL: info@studiomk26.com


29    RONALD DIEZ                                PHONE:                                 COMMISSION                                                                            $27,558.00
      14140 VENTURA BLVD., SUITE 302             FAX:
      SHERMAN OAKS, CA 91423                     EMAIL:



30    JAVID CONSTRUCTION INC                     TIMMY JAVID                            TRADE                                                                                 $25,686.06
      26922 DEER TRAIL CT                        PHONE: (818) 878-7878
      CALABASAS CA 91301                         FAX:
                                                 EMAIL: timmyjavid@hotmail.com




     Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                              Page 3
                           Case 17-12560-BLS               Doc 1      Filed 12/04/17          Page 13 of 50



                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

         In re:                                                               Chapter 11

         WOODBRIDGE GROUP OF COMPANIES, LLC,                                  Case No. 17-_____ (___)
         et al.,1
                                                                              (Joint Administration Requested)
                                     Debtors.



                          CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

                       Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy
         Procedure, Woodbridge Group of Companies, LLC, a Delaware corporation, and the affiliated
         debtors and debtors in possession (each a “Debtor”), hereby state as follows:

                         1.       The ownership chart that follows identifies all entities having a direct or
         indirect ownership interest in the Debtors. Unless otherwise indicated, each entity owns 100% of
         those entities falling directly below it in the ownership chart. For the schedules to the ownership
         chart, please see Schedule 2 to the Action by Written Consent of the Manager of Woodbridge
         Group of Companies, LLC and Certain Affiliates, which follows this Consolidated Corporate
         Ownership Statement.




                                         [Remainder of Page Intentionally Left Blank]




         1
                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, for which the Debtors have requested joint
         administration, a complete list of the Debtors, the last four digits of their federal tax identification numbers, and their
         addresses are not provided herein. A complete list of such information may be obtained on the website of the
         Debtors’ proposed noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
         proposed undersigned counsel for the Debtors.
01:22587328.1
                                                                                    Woodbridge Group Enterprise
                                                                                       Corporate Organization Chart
                                                                                                        RS Protection
                                                                                                           Trust                          Schedule C
                                                                                                                                         (Non-Filers)2
                                                                                                         (Non-Filer)1
Page 14 of 50




                                                                                                  Schedule A-2
                                         WGC                                                       [Each Mezz                                                   Schedule D
                                      Independent                  Carbondale                                                      Schedule B                                           Schedule E
                                                                                                  HoldCo / Non-                                                 Brokerage
                                      Management,                  Doocy, LLC                                                         Filers                                             Inactive
                                                                                                    Collateral]                                                 Companies
                                       LLC (BAG)                                                                                                                                       (Non-Filers)
                                                                                                      Filers                                                   (Non-Filers) 1
                                       (with CRO)
                                        (Non-Filer)
Filed 12/04/17




                                                                                                   Schedule A-2
                                                                Woodbridge Group                  [Each PropCo /
                                                                of Companies, LLC                 Non-Collateral]
                                                                                                      Filers
                              Schedule A-1
                           [Each Mezz HoldCo              WMF                   Schedule F
                              / Collateral]           Management, LLC             Filers
Doc 1




                                 Filers
                             Schedule A-1
Case 17-12560-BLS




                            [Each PropCo /
                              Collateral]
                                Filers
                      Woodbridge             Woodbridge             Woodbridge                 Woodbridge             Woodbridge               Woodbridge              Woodbridge
                       Mortgage               Mortgage               Mortgage                   Mortgage               Mortgage                Commercial              Commercial      Schedule G-1        Schedule G-2
                    Investment Fund        Investment Fund        Investment Fund            Investment Fund        Investment Fund         Bridge Loan Fund        Bridge Loan Fund      Filers            (Non-Filers)
                         1, LLC                 2, LLC                 3, LLC                     3A, LLC                4, LLC                   1, LLC                  2, LLC
     Schedule H-1                     Schedule H-2                                                                       Schedule I
        Filers                         (Non-Filers)                                                                     (Non-Filers)
                                                                                                                                                          1.    Not managed by WGC Independent Management, LLC.
                                                                                                                                                          2.    Managed by WGC Independent Management, LLC.
              Case 17-12560-BLS         Doc 1    Filed 12/04/17     Page 15 of 50



                         ACTION BY WRITTEN CONSENT
                                   OF THE
                                 MANAGER OF
                      WOODBRIDGE GROUP OF COMPANIES, LLC
                           AND CERTAIN AFFILIATES

                                       December 1, 2017

       The undersigned, being the Manager of each of the limited liability companies whose
names are set forth on Schedule 1 attached hereto (each, a “Company” and collectively, the
“Companies”), in each case in accordance with each Company’s respective organizational
documents and with the applicable limited liability company laws of the jurisdiction of formation
of each Company (the “LLC Laws”), hereby consents to and approves the adoption of the
following resolutions and each and every action effected thereby or pursuant thereto by written
consent as if such actions had been taken at a meeting of the Manager of each such Company.

       WHEREAS, each of the Companies is managed by the Manager;

        WHEREAS, Beilinson Advisory Group LLC has been previously appointed as manager
of the Manager;

       WHEREAS, the Manager has previously appointed Lawrence Perkins to serve as Chief
Restructuring Officer of the Manager (the “CRO”);

        WHEREAS, the Manager has reviewed and considered materials presented by legal and
financial advisors of the Companies and management regarding the liabilities and liquidity
situation of the Companies, the strategic alternatives available to each of them, and the impact of
the foregoing on each of the Company’s businesses;

      WHEREAS, the Manager has received advice from the legal and financial advisors of
the Companies and management regarding the possible need to liquidate or restructure the
Companies, and has fully considered each of the strategic alternatives available to each
Company, and the impact of the foregoing on each Company’s business and its stakeholders;

        WHEREAS, the Manager has reviewed and considered the recommendations of the
Companies’ legal and financial advisors and management regarding the relief that would be
necessary and advisable to obtain from the Bankruptcy Court to allow the Company to
effectively transition into operation as debtors in possession (collectively, the “First Day
Relief”) under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

       WHEREAS, the Manager has determined that it is fair, appropriate, advisable,
necessary, and in the best interests of each Company, its creditors, members and other
stakeholders that each Company file or cause to be filed a voluntary petition for relief under the
provisions of chapter 11 of the Bankruptcy Code and seek the First Day Relief; and

       WHEREAS, the Manager desires to approve the following Resolutions.



                                                1
              Case 17-12560-BLS         Doc 1    Filed 12/04/17     Page 16 of 50



       NOW, THEREFORE, BE IT:

CHAPTER 11 PETITION AND FIRST DAY RELIEF

       RESOLVED, that in the judgment of the Manager, it is desirable and in the best interests
of the creditors, members and other stakeholders of each Company set forth on attached
Schedule 2, that each Company set forth on attached Schedule 2 (i) file or cause to be filed a
voluntary petition for relief under the provisions of chapter 11 of the Bankruptcy Code and (ii)
seek the First Day Relief;

        RESOLVED, that the CRO, acting on behalf of Manager, be, and hereby is, authorized
and empowered to execute and file on behalf of each Company set forth on attached Schedule 2
all petitions, schedules, lists, and other motions, papers or documents, and to take any and all
action that they deem necessary or proper to obtain such relief, including, without limitation, any
action necessary to maintain the ordinary course operation of the business of each such
Company;

DEBTOR-IN-POSSESSION FINANCING

        RESOLVED, that, in connection with the commencement of the chapter 11 cases of the
Companies set forth on attached Schedule 2, (1) entry into a debtor-in-possession loan facility in
the amount of $100,000,000 provided under that certain Debtor-in-Possession Credit, Guaranty
and Security Agreement (the “DIP Credit Agreement”) by and among Hankey Capital, LLC
and/or its affiliated entities, the lenders party thereto from time to time (the “DIP Lenders”),
including, without limitation, (i) the execution and delivery of any credit documents (ii) the
consummation of the transactions contemplated thereby and the guaranty of the obligations
under the DIP Credit Agreement, and (iii) the granting of the security interest in, liens upon and
pledge of collateral to secure the obligations under the DIP Credit Agreement, be, and hereby is,
authorized and approved on behalf of each of the Companies set forth on attached Schedule 2
and (2) the CRO, acting on behalf of the Manager, be, and hereby is, authorized, empowered and
directed, in the name and on behalf of the Companies set forth on attached Schedule 2, (a) to
negotiate the use of cash collateral and to grant adequate protection in the form of additional
security interests or priority claims in connection therewith, (b) to (i) negotiate, execute, and
deliver the DIP Credit Agreement (ii) cause the Companies set forth on attached Schedule 2 to
consummate the transactions and guaranty the obligations contemplated by the DIP Credit
Agreement, and (iii) grant security interests in, liens upon and pledge of the Collateral (as
defined in the DIP Credit Agreement or any other agreement or instrument executed in
connection ith the DIP Credit Agreement) in favor of the DIP Lenders, to secure the obligations
under the DIP Credit Agreement, in each instance, on such terms and conditions as the CRO
executing the same on behalf of the Manager may consider necessary, proper or desirable, and
(c) to take such additional action and to execute and deliver each other agreement, instrument,
certificate or document to be executed and delivered, in the name and on behalf of the
Companies set forth on attached Schedule 2, pursuant thereto or in connection therewith, all with
such changes therein and additions thereto as the CRO, acting on behalf of the Manager,
approves, such approval to be conclusively evidenced by the taking of such action or by the
execution and delivery thereof;




                                                2
              Case 17-12560-BLS         Doc 1    Filed 12/04/17     Page 17 of 50



RETENTION OF PROFESSIONALS

       RESOLVED, that the CRO, acting on behalf of the Manager, be, and hereby is,
authorized and directed in the name and on behalf of the Companies to employ
SierraConsellation Partners LLC as restructuring financial advisor and to continue to have
Lawrence Perkins serve as Chief Restructuring Officer of the Manager in connection with any
case commenced by any Company under the Bankruptcy Code and all related matters, and any
such prior actions are hereby ratified in their entirety;

        RESOLVED, that the CRO, acting on behalf of the Manager, be, and hereby is,
authorized and directed in the name and on behalf of the Companies to employ the law firm of
Gibson, Dunn & Crutcher LLP as general bankruptcy counsel to represent and assist the
Companies in carrying out their respective duties under the Bankruptcy Code and to take any and
all actions to advance the Companies’ rights and obligations, and any such prior actions are
hereby ratified in their entirety;

        RESOLVED, that the CRO, acting on behalf of the Manager, be, and hereby is,
authorized and directed in the name and on behalf of the Companies to employ the law firm of
Young Conaway Stargatt & Taylor, LLP as Delaware bankruptcy counsel to represent and assist
the Companies in carrying out their respective duties under the Bankruptcy Code and to take any
and all actions to advance the Companies’ rights and obligations, and any such prior actions are
hereby ratified in their entirety;

        RESOLVED, that the CRO, acting on behalf of the Manager, be, and hereby is,
authorized and directed in the name and on behalf of the Companies to employ Garden City
Group Inc. as claims and noticing agent and administrative advisors in connection with any case
commenced by the Companies under the Bankruptcy Code and all related matters, and any such
prior actions are hereby ratified in their entirety;

        RESOLVED, that the CRO, acting on behalf of the Manager, be, and hereby is,
authorized and directed in the name and on behalf of the Companies to employ any other
professionals to assist the Companies in carrying out their respective duties under the
Bankruptcy Code and to take any and all actions to advance the Companies’ rights and
obligations;

        RESOLVED, that the CRO, acting on behalf of the Manager, is hereby authorized and
directed in the name and on behalf of the Companies to execute appropriate retention
agreements, pay appropriate retainers, and cause to be filed appropriate applications for authority
to retain the services of the foregoing professionals as necessary;

ADDITONAL FILINGS

       RESOLVED, that the CRO, acting on behalf of the Manager, may at any time and from
time to time may determine, in consultation with the financial and legal advisors of such
Companies, that any one or more Companies set forth on attached Schedule 1 that are not set
forth on attached Schedule 2 (each an “Additional Filing Company” and, collecting, the
“Additional Filing Companies”) that is desirable and in the best interests of the creditors,
members and other stakeholders of such Additional Filing Company, that such Additional Filing


                                                3
              Case 17-12560-BLS         Doc 1    Filed 12/04/17     Page 18 of 50



Company (i) file or cause to be filed a voluntary petition for relief under the provisions of
chapter 11 of the Bankruptcy Code; (ii) seek any First Day Relief as may be required; and (iii)
become a party to the DIP Credit Agreement;

        RESOLVED, that if a determination is made by the CRO, acting on behalf of the
Manager, that any one or more Additional Filing Companies shall file or cause to be filed a
voluntary petition for relief under the provisions of chapter 11 of the Bankruptcy Code, then the
resolutions set forth in this Action by Written Consent under the headings “CHAPTER 11
PETITION AND FIRST DAY RELIEF”, “DEBTOR-IN-POSSESSION FINANCING”, and
“RETENTION OF PROFESSIONALS” shall be deemed to have been adopted on behalf of each
such Additional Filing Company and each such Additional Filing Company shall be deemed to
be included on attached Schedule 2 for such purpose;

FURTHER ACTIONS AND PRIOR ACTIONS

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
CRO, the CRO or its designee shall be, and each of them, acting alone, hereby is, authorized,
directed, and empowered in the name of, and on behalf of, any Company, to take or cause to be
taken any and all such further actions, to execute and deliver any and all such agreements,
certificates, instruments, and other documents and to pay all expenses, including filing fees, in
each case as in such officer’s or officers’ judgment shall be necessary or desirable to fully carry
out the intent and accomplish the purposes of the Resolutions adopted herein;

       RESOLVED, that all acts, actions and transactions relating to the matters contemplated
by the foregoing Resolutions done in the name of and on behalf of any Company, which acts
would have been approved by the foregoing Resolutions except that such acts were taken before
these Resolutions were certified, are hereby in all respects approved and ratified; and

       RESOLVED, that a copy of these Resolutions of the Manager shall be filed in the
records of each Company.


                         [Remainder of Page Left Intentionally Blank]




                                                4
              Case 17-12560-BLS        Doc 1    Filed 12/04/17    Page 19 of 50



        IN WITNESS WHEREOF, the undersigned has executed this Action by Written Consent to be
effective as of the date first written above.


                                        WGC INDEPENDENT MANAGER LLC

                                        By: Beilinson Advisory Group LLC, its Manager


                                        By: /s/Marc Beilinson
                                           Name: Marc Beilinson
                                           Title: Manager




                          SIGNATURE PAGE TO ACTION BY WRITTEN CONSENT
Case 17-12560-BLS    Doc 1   Filed 12/04/17   Page 20 of 50



                      SCHEDULE 1

                     The Companies

   1336, LLC
   14068 Davana Holding Company, LLC
   14068 Davana Terrace, LLC
   15672 Castlewoods Drive, LLC
   15672 Castlewoods Owners, LLC
   15714 Castlewoods Drive, LLC
   15714 Castlewoods Owners, LLC
   215 North 12th Street, LLC
   A Plus Holdings, LLC
   Addison Park Investments, LLC
   Alpine Rose, LLC
   Anchorpoint Investments, LLC
   Arborvitae Investments, LLC
   Archivolt Investments, LLC
   Archstone Investments, LLC
   Arlington Ridge Investments, LLC
   Arrowpoint Investments, LLC
   Ashburton Way Investments, LLC
   Atalaya Circle Investments, LLC
   Baleroy Investments, LLC
   Basswood Holding, LLC
   Bay Village Investments, LLC
   Bear Brook Investments, LLC
   Bearingside Investments, LLC
   Beech Creek Investments, LLC
   Bellmire Investments, LLC
   Birchwood Manor Investments, LLC
   Bishop White Investments, LLC
   Black Bass Investments, LLC
   Black Locust Investments, LLC
   Bluff Point Investments, LLC
   Boiling Spring Investments, LLC
   Bonifacio Hill Investments, LLC
   Bowman Investments, LLC
   Bowstring Investments, LLC
   Bramley Investments, LLC
   Breckenridge Investments, LLC
   Breckenridge, LLC
   Brise Soleil Investments, LLC
Case 17-12560-BLS     Doc 1     Filed 12/04/17   Page 21 of 50



   Broadsands Investments, LLC
   Brynderwen Investments, LLC
   Cablestay Investments, LLC
   Caisson Investments, LLC
   Calder Grove Investments, LLC
   Calendonia Circle Investments, LLC
   California Commerical Lenders, LLC
   Cannington Investments, LLC
   Cantilever Investments, LLC
   Carbondale Doocy, LLC
   Carbondale Glen Lot A-5, LLC
   Carbondale Glen Lot D-22, LLC
   Carbondale Glen Lot E-15, LLC
   Carbondale Glen Lot E-24, LLC
   Carbondale Glen Lot E-38, LLC
   Carbondale Glen Lot E-8, LLC
   Carbondale Glen Lot GV-13, LLC
   Carbondale Glen Lot GV-6, LLC
   Carbondale Glen Lot IS-11, LLC
   Carbondale Glen Lot SD-14, LLC
   Carbondale Glen Lot SD-23, LLC
   Carbondale Glen Mesa Lot 19, LLC
   Carbondale Glen River Mesa, LLC
   Carbondale Glen Sundance Ponds, LLC
   Carbondale Glen Sweetgrass Vista, LLC
   Carbondale Spruce 101, LLC
   Carbondale Sundance Lot 15, LLC
   Carbondale Sundance Lot 16, LLC
   Casper Falls Investments, LLC
   Castle Pines Investments, LLC
   Centershot Investments, LLC
   Chaplin Investments, LLC
   Chestnut Investments, LLC
   Chestnut Ridge Investments, LLC
   Clementina Park Investments, LLC
   Cliff Park Investments, LLC
   Clover Basin Investments, LLC
   Coffee Creek Investments, LLC
   Conneaut Lake Investments, LLC
   Copper Sands Investments, LLC
   Craven Investments, LLC
   Crestmark Investments, LLC
   Crossbeam Investments, LLC
Case 17-12560-BLS     Doc 1   Filed 12/04/17   Page 22 of 50



   Crosskeys Investments, LLC
   Crowfield Investments, LLC
   Crystal Valley Holdings, LLC
   Crystal Woods Investments, LLC
   Cuco Settlement, LLC
   Daleville Investments, LLC
   Derbyshire Investments, LLC
   Diamond Cove Investments, LLC
   Dixmont State Investments, LLC
   Dixville Notch Investments, LLC
   Dogwood Valley Investments, LLC
   Dollis Brook Investments, LLC
   Donnington Investments, LLC
   Doubleleaf Investments, LLC
   Drawspan Investments, LLC
   DVDO Design, LLC
   DVDO Holding Company, LLC
   Eldredge Investments, LLC
   Elm City Investments, LLC
   Elstar Investments, LLC
   Emerald Lake Investments, LLC
   Evergreen Way Investments, LLC
   Fieldpoint Investments, LLC
   Foothill CL Nominee, LLC
   Foxridge Investments, LLC
   Franconia Notch Investments, LLC
   Fulton Underwood, LLC
   Gateshead Investments, LLC
   Glenhaven Heights Investments, LLC
   Glenn Rich Investments, LLC
   Golden Gate Investments, LLC
   Goose Rocks Investments, LLC
   Goosebrook Investments, LLC
   Graeme Park Investments, LLC
   Grand Midway Investments, LLC
   Gravenstein Investments, LLC
   Graywater Investments, LLC
   Great Sand Investments, LLC
   Green Gables Investments, LLC
   Grenadier Investments, LLC
   Grumblethorpe Investments, LLC
   H1 Silverbaron Holding Company, LLC
   H11 Silk City Holding Company, LLC
Case 17-12560-BLS    Doc 1    Filed 12/04/17   Page 23 of 50



   H12 White Birch Holding Company, LLC
   H13 Bay Village Holding Company, LLC
   H14 Dixville Notch Holding Company, LLC
   H15 Bear Brook Holding Company, LLC
   H16 Monadnock Holding Company, LLC
   H17 Pemigewasset Holding Company, LLC
   H19 Emerald Lake Holding Company, LLC
   H2 Arlington Ridge Holding Company, LLC
   H20 Bluff Point Holding Company, LLC
   H21 Summerfree Holding Company, LLC
   H22 Papirovka Holding Company, LLC
   H23 Pinova Holding Company, LLC
   H24 Stayman Holding Company, LLC
   H25 Elstar Holding Company, LLC
   H26 Gravenstein Holding Company, LLC
   H27 Grenadier Holding Company, LLC
   H28 Black Locust Holding Company, LLC
   H29 Zestar Holding Company, LLC
   H3 Evergreen Way Holding Company, LLC
   H30 Silver Maple Holding Company, LLC
   H31 Addison Park Holding Company, LLC
   H32 Arborvitae Holding Company, LLC
   H34 Pearman Holding Company, LLC
   H35 Hornbeam Holding Company, LLC
   H36 Sturmer Pippin Holding Company, LLC
   H37 Idared Holding Company, LLC
   H38 Mutsu Holding Company, LLC
   H39 Haralson Holding Company, LLC
   H4 Pawtuckaway Holding Company, LLC
   H40 Bramley Holding Company, LLC
   H41 Grumblethorpe Holding Company, LLC
   H42 Hillview Holding Company, LLC
   H43 Lenni Heights Holding Company, LLC
   H44 Green Gables Holding Company, LLC
   H45 Harmony Inn Holding Company, LLC
   H46 Beech Creek Holding Company, LLC
   H47 Summit Cut Holding Company, LLC
   H48 Irondale Inn Holding Company, LLC
   H49 Bowman Holding Company, LLC
   H5 Chestnut Ridge Holding Company, LLC
   H51 Old Carbon Holding Company, LLC
   H52 Willow Grove Holding Company, LLC
   H53 Black Bass Holding Company, LLC
Case 17-12560-BLS    Doc 1    Filed 12/04/17    Page 24 of 50



   H54 Seven Stars Holding Company, LLC
   H55 Old Maitland Holding Company, LLC
   H56 Craven Holding Company, LLC
   H57 Cliff Park Holding Company, LLC
   H58 Baleroy Holding Company, LLC
   H59 Rising Sun Holding Company, LLC
   H6 Lilac Meadow Holding Company, LLC
   H60 Moravian Holding Company LLC
   H61 Grand Midway Holding Company, LLC
   H62 Holmesburg Holding Company, LLC
   H63 Dixmont State Holding Company, LLC
   H64 Pennhurst Holding Company, LLC
   H65 Thornbury Farm Holding Company, LLC
   H66 Heilbron Manor Holding Company, LLC
   H67 Powel House Holding Company, LLC
   H68 Graeme Park Holding Company, LLC
   H69 Conneaut Lake Holding Company, LLC
   H7 Dogwood Valley Holding Company, LLC
   H70 Bishop White Holding Company, LLC
   H71 Calendonia Circle Holding Company, LLC
   H72 Clementina Park Holding Company, LLC
   H73 Glenhaven Heights Holding Company, LLC
   H74 Imperial Aly Holding Company, LLC
   H75 Pacific Heights Holding Company, LLC
   H76 Diamond Cove Holding Company, LLC
   H77 New Montgomery Holding Company, LLC
   H78 Ingleside Path Holding Company, LLC
   H79 Atalaya Circle Holding Company, LLC
   H8 Melody Lane Holding Company, LLC
   H80 Junipero Serra Holding Company, LLC
   H81 Golden Gate Holding Company, LLC
   H82 Van Ness Holding Company, LLC
   H83 Seacliff Run Holding Company, LLC
   H84 Holly Park Holding Company, LLC
   H85 Birchwood Manor Holding Company, LLC
   H86 Bonifacio Hill Holding Company, LLC
   H87 Copper Sands Holding Company, LLC
   H88 Ashburton Way Holding Company, LLC
   H89 Vista Verde Holding Company, LLC
   H9 Strawberry Fields Holding Company, LLC
   H90 Harbor Point Holding Company, LLC
   Hackmatack Investments, LLC
   Haffenburg Investments, LLC
Case 17-12560-BLS    Doc 1    Filed 12/04/17   Page 25 of 50



   Haralson Investments, LLC
   Harbor Point Investments, LLC
   Harringworth Investments, LLC
   Hawthorn Investments, LLC
   Hays Investments, LLC
   Hazelpoint Investments, LLC
   Heilbron Manor Investments, LLC
   Hillview Investments, LLC
   Holly Park Investments, LLC
   Hollyline Holdings, LLC
   Hollyline Owners, LLC
   Holmesburg Investments, LLC
   Hornbeam Investments, LLC
   Idared Investments, LLC
   Imperial Aly Investments, LLC
   Ingleside Path Investments, LLC
   Irondale Inn Investments, LLC
   Ironsides Investments, LLC
   Ivy Circle, LLC
   Junipero Serra Investments, LLC
   L1 Luxury Holdings, LLC
   Lenni Heights Investments, LLC
   Lilac Circle, LLC
   Lilac Meadow Investments, LLC
   Lincolnshire Investments, LLC
   Lockwood Investments, LLC
   Lonetree Investments, LLC
   Longbourn Investments, LLC
   M1 Archstone Holding Company, LLC
   M10 Gateshead Holding Company, LLC
   M11 Anchorpoint Holding Company, LLC
   M12 Bearingside Holding Company, LLC
   M13 Cablestay Holding Company, LLC
   M14 Crossbeam Holding Company, LLC
   M15 Doubleleaf Holding Company, LLC
   M17 Lincolnshire Holding Company, LLC
   M18 Twin Pier Holding Company, LLC
   M19 Arrowpoint Holding Company, LLC
   M2 Caisson Holding Company, LLC
   M20 Bowstring Holding Company, LLC
   M21 Crestmark Holding Company, LLC
   M22 Drawspan Holding Company, LLC
   M23 Sightline Holding Company, LLC
Case 17-12560-BLS    Doc 1    Filed 12/04/17   Page 26 of 50



   M24 Fieldpoint Holding Company, LLC
   M25 Centershot Holding Company, LLC
   M26 Archivolt Holding Company, LLC
   M27 Brise Soleil Holding Company, LLC
   M28 Broadsands Holding Company, LLC
   M29 Brynderwen Holding Company, LLC
   M3 Cantilever Holding Company, LLC
   M30 Calder Grove Holding Company, LLC
   M31 Cannington Holding Company, LLC
   M32 Dollis Brook Holding Company, LLC
   M33 Harringworth Holding Company, LLC
   M34 Quarterpost Holding Company, LLC
   M35 Saddlemount Holding Company, LLC
   M36 Springline Holding Company, LLC
   M37 Topchord Holding Company, LLC
   M38 Pemberley Holding Company, LLC
   M39 Derbyshire Holding Company, LLC
   M4 Sidespar Holding Company, LLC
   M40 Longbourn Holding Company, LLC
   M41 Silverthorne Holding Company, LLC
   M42 Orchard Mesa Holding Company, LLC
   M43 White Dome Holding Company, LLC
   M44 Wildernest Holding Company, LLC
   M45 Clover Basin Holding Company, LLC
   M46 Owl Ridge Holding Company, LLC
   M47 Bellmire Holding Company, LLC
   M48 Vallecito Holding Company, LLC
   M49 Squaretop Holding Company, LLC
   M5 Stepstone Holding Company, LLC
   M50 Wetterhorn Holding Company, LLC
   M51 Coffee Creek Holding Company, LLC
   M52 Lockwood Holding Company, LLC
   M53 Castle Pines Holding Company, LLC
   M54 Lonetree Holding Company, LLC
   M55 Great Sand Holding Company, LLC
   M56 Haffenburg Holding Company, LLC
   M57 Ridgecrest Holding Company, LLC
   M59 Casper Falls Holding Company, LLC
   M6 Trestlewood Holding Company, LLC
   M60 Thunder Basin Holding Company, LLC
   M61 Mineola Holding Company, LLC
   M62 Sagebrook Holding Company, LLC
Case 17-12560-BLS   Doc 1   Filed 12/04/17     Page 27 of 50



   M63 Crowfield Holding Company, LLC
   M64 Hays Holding Company, LLC
   M65 Phillipsburg Holding Company, LLC
   M66 Wonderview Holding Company, LLC
   M67 Mountain Spring Holding Company, LLC
   M68 Goosebrook Holding Company, LLC
   M69 Foxridge Holding Company, LLC
   M7 Breckenridge Holding Company, LLC
   M70 Pinney Holding Company, LLC
   M71 Eldredge Holding Company, LLC
   M72 Daleville Holding Company, LLC
   M73 Mason Run Holding Company, LLC
   M74 Varga Holding Company, LLC
   M75 Riley Creekholding Company, LLC
   M76 Chaplin Holding Company, LLC
   M78 Graywater Holding Company, LLC
   M79 Chestnut Company, LLC
   M8 Crosskeys Holding Company, LLC
   M80 Hazelpoint Holding Company, LLC
   M81 Boilling Spring Holding Company, LLC
   M82 Winnisquam Holding Company, LLC
   M83 Mt. Holly Holding Company, LLC
   M84 Pembroke Academy Holding Company, LLC
   M85 Glenn Rich Holding Company, LLC
   M86 Steele Hill Holding Company, LLC
   M87 Hackmatack Hills Holding Company, LLC
   M88 Franconia Notch Holding Company, LLC
   M9 Donnington Holding Company, LLC
   M90 Merrimack Valley Holding Company, LLC
   M91 Newville Holding Company, LLC
   M92 Crystal Woods Holding Company, LLC
   M93 Goose Rocks Holding Company, LLC
   M94 Winding Road Holding Company, LLC
   M95 Pepperwood Holding Company, LLC
   M97 Red Woods Holding Company, LLC
   M98 Elm City Holding Company, LLC
   M99 Ironsides Holding Company, LLC
   Mandevilla Circle, LLC
   Mason Run Investments, LLC
   Melody Lane Investments, LLC
   Merrimack Valley Investments, LLC
   Mineola Investments, LLC
   Monadnock Investments, LLC
Case 17-12560-BLS    Doc 1   Filed 12/04/17   Page 28 of 50



   Moravian Investments, LLC
   Mountain Spring Investments, LLC
   Mt. Holly Investments, LLC
   Mutsu Investments, LLC
   New Montgomery Investments, LLC
   Newville Investments, LLC
   Old Carbon Investments, LLC
   Old Maitland Investments, LLC
   Orchard Mesa Investments, LLC
   Owl Ridge Investments, LLC
   Pacific Heights Investments, LLC
   Papirovka Investments, LLC
   Pawtuckaway Investments, LLC
   Pearmain Investments, LLC
   Pemberley Investments, LLC
   Pembroke Academy Investments, LLC
   Pemigewasset Investments, LLC
   Pepperwood Investments, LLC
   Phillipsburg Investments, LLC
   Pinney Investments, LLC
   Pinova Investments, LLC
   Poppy Circle, LLC
   Powel House Investments, LLC
   Quarterpost Investments, LLC
   Red Woods Investments, LLC
   RHS Capital, LLC
   Ridgecrest Investments, LLC
   Riley Creek Investments, LLC
   Rising Sun Investments, LLC
   SAC Holding Company of Aspen, LLC
   SAC Management, LLC
   Saddlemount Investments, LLC
   Sagebrook Investments, LLC
   Seacliff Run Holding Company, LLC
   Seven Stars Investments, LLC
   Sidespar Investments, LLC
   Sightline Investments, LLC
   Silk City Investments, LLC
   Silver Maple Investments, LLC
   Silverbaron Investments, LLC
   Silverleaf Funding, LLC
   Silverthorne Investments, LLC
   Springline Investments, LLC
Case 17-12560-BLS    Doc 1    Filed 12/04/17       Page 29 of 50



   Squaretop Investments, LLC
   Stayman Investments, LLC
   Steele Hill Investments, LLC
   Stepstone Investments, LLC
   Strawberry Fields Investments, LLC
   Sturmer Pippin Investments, LLC
   Summerfree Investments, LLC
   Summit Cut Investments, LLC
   Texas Co-Lenders 01, LLC
   Thornbury Farm Investments, LLC
   Thunder Basin Investments, LLC
   Topchord Investments, LLC
   Trestlewood Investments, LLC
   Tweedia Square Funding, LLC
   Twin Pier Investments, LLC
   U Street Holdings, LLC
   Vallecito Investments, LLC
   Van Ness Investments, LLC
   Varga Investments, LLC
   Vista Verde Investments, LLC
   Wetterhorn Investments, LLC
   WFS Holding Company, LLC
   White Birch Investments, LLC
   White Dome Investments, LLC
   Whiteacre Funding, LLC
   Wildernest Investments, LLC
   Willow Grove Investments, LLC
   Winding Road Investments, LLC
   Winnisquam Investments, LLC
   WMF Management, LLC
   Wonderview Investments, LLC
   Woodbridge Capital Investments, LLC
   Woodbridge Commercial Bridge Loan Fund 1, LLC
   Woodbridge Commercial Bridge Loan Fund 2, LLC
   Woodbridge Group of Companies, LLC
   Woodbridge Guarantee Holding, LLC
   Woodbridge Guarantee, LLC
   Woodbridge Investments, LLC
   Woodbridge Lending Fund 1, LLC
   Woodbridge Luxury Homes, LLC
   Woodbridge Mezzanine Fund 1, LLC
   Woodbridge Mortgage Investment Fund 1, LLC
   Woodbridge Mortgage Investment Fund 2, LLC
Case 17-12560-BLS    Doc 1    Filed 12/04/17     Page 30 of 50



   Woodbridge Mortgage Investment Fund 3, LLC
   Woodbridge Mortgage Investment Fund 3A, LLC
   Woodbridge Mortgage Investment Fund 4, LLC
   Woodbridge Structured Funding, LLC
   Zestar Investments, LLC
                Case 17-12560-BLS   Doc 1   Filed 12/04/17   Page 31 of 50



                                     SCHEDULE 2

                                    Filing Companies


                                        Attached




01:22616897.1
                   Case 17-12560-BLS         Doc 1    Filed 12/04/17   Page 32 of 50


                                First Day Filers

  #                                 Entity Name
  1     Carbondale Doocy, LLC
  2     WMF Management, LLC
  3     Woodbridge Group of Companies, LLC
  4     Woodbridge Mortgage Investment Fund 1, LLC
  5     Woodbridge Mortgage Investment Fund 2, LLC
  6     Woodbridge Mortgage Investment Fund 3, LLC
  7     Woodbridge Mortgage Investment Fund 3A, LLC
  8     Woodbridge Mortgage Investment Fund 4, LLC
  9     Woodbridge Commercial Bridge Loan Fund 1, LLC
 10     Woodbridge Commercial Bridge Loan Fund 2, LLC




Page 1 (Filers)
                           Case 17-12560-BLS           Doc 1     Filed 12/04/17     Page 33 of 50


                                  Schedule A-1: Collateral First Day Filers

  #                     PropCo                                             HoldCo
  1     Addison Park Investments, LLC                H31 Addison Park Holding Company, LLC
  2     Bluff Point Investments, LLC                 H20 Bluff Point Holding Company, LLC
  3     Summit Cut Investments, LLC                  H47 Summit Cut Holding Company, LLC
  4     Lilac Meadow Investments, LLC                H6 Lilac Meadow Holding Company, LLC
  5     Diamond Cove Investments, LLC                H76 Diamond Cove Holding Company, LLC
  6     Heilbron Manor Investments, LLC              H66 Heilbron Manor Holding Company, LLC
  7     Thornbury Farm Investments, LLC              H65 Thornbury Farm Holding Company, LLC
  8     Sagebrook Investments, LLC                   M62 Sagebrook Holding Company, LLC
  9     Imperial Aly Investments, LLC                H74 Imperial Aly Holding Company, LLC
 10     Gravenstein Investments, LLC                 H26 Gravenstein Holding Company, LLC
 11     Silver Maple Investments, LLC                H30 Silver Maple Holding Company, LLC
 12     Goosebrook Investments, LLC                  M68 Goosebrook Holding Company, LLC
 13     Elstar Investments, LLC                      H25 Elstar Holding Company, LLC
 14     Hornbeam Investments, LLC                    H35 Hornbeam Holding Company, LLC
 15     Silk City Investments, LLC                   H11 Silk City Holding Company, LLC
 16     Hollyline Owners, LLC                        Hollyline Holdings, LLC
 17     Crowfield Investments, LLC                   M63 Crowfield Holding Company, LLC
 18     Centershot Investments, LLC                  M25 Centershot Holding Company, LLC
 19     Graeme Park Investments, LLC                 H68 Graeme Park Holding Company, LLC
 20     Mason Run Investments, LLC                   M73 Mason Run Holding Company, LLC
 21     Pinney Investments, LLC                      M70 Pinney Holding Company, LLC
 22     Drawspan Investments, LLC                    M22 Drawspan Holding Company, LLC
 23     Doubleleaf Investments, LLC                  M15 Doubleleaf Holding Company, LLC
 24     White Birch Investments, LLC                 H12 White Birch Holding Company, LLC
 25     Lincolnshire Investments, LLC                M17 Lincolnshire Holding Company, LLC
 26     Arlington Ridge Investments, LLC             H2 Arlington Ridge Holding Company, LLC
 27     Bay Village Investments, LLC                 H13 Bay Village Holding Company, LLC




A-1 Collateral Filers
                          Case 17-12560-BLS             Doc 1    Filed 12/04/17      Page 34 of 50
                                            Schedule A-2: Non Collateral First Day Filers
  #                                PropCo                                                        HoldCo
  1    Sturmer Pippin Investments, LLC                                H36 Sturmer Pippin Holding Company, LLC
  2    Grand Midway Investments, LLC                                  H61 Grand Midway Holding Company, LLC
  3    Bishop White Investments, LLC                                  H70 Bishop White Holding Company, LLC
  4    Goose Rocks Investments, LLC                                   M93 Goose Rocks Holding Company, LLC
  5    Pawtuckaway Investments, LLC                                   H4 Pawtuckaway Holding Company, LLC
  6    Varga Investments, LLC                                         M74 Varga Holding Company, LLC
  7    Winding Road Investments, LLC                                  M94 Winding Road Holding Company, LLC
  8    Cablestay Investments, LLC                                     M13 Cablestay Holding Company, LLC
  9    Squaretop Investments, LLC                                     M49 Squaretop Holding Company, LLC
  10   Eldredge Investments, LLC                                      M71 Eldredge Holding Company, LLC
  11   Green Gables Investments, LLC                                  H44 Green Gables Holding Company, LLC
  12   Riley Creek Investments, LLC                                   M75 Riley Creek Holding Company, LLC
  13   Craven Investments, LLC                                        H56 Craven Holding Company, LLC
  14   Chestnut Investments, LLC                                      M79 Chestnut Company, LLC
  15   Chestnut Ridge Investments, LLC                                H5 Chestnut Ridge Holding Company, LLC
  16   Longbourn Investments, LLC                                     M40 Longbourn Holding Company, LLC
  17   Rising Sun Investments, LLC                                    H59 Rising Sun Holding Company, LLC
  18   Willow Grove Investments, LLC                                  H52 Willow Grove Holding Company, LLC
  19   Cannington Investments, LLC                                    M31 Cannington Holding Company, LLC
  20   Emerald Lake Investments, LLC                                  H19 Emerald Lake Holding Company, LLC
  21   Pemberley Investments, LLC                                     M38 Pemberley Holding Company, LLC
  22   Carbondale Glen River Mesa, LLC                                Crystal Valley Holdings, LLC
  23   Old Maitland Investments, LLC                                  H55 Old Maitland Holding Company, LLC
  24   Donnington Investments, LLC                                    M9 Donnington Holding Company, LLC
  25   Mountain Spring Investments, LLC                               M67 Mountain Spring Holding Company, LLC
  26   Clover Basin Investments, LLC                                  M45 Clover Basin Holding Company, LLC

A-2 Non Coll Filers
                           Case 17-12560-BLS             Doc 1    Filed 12/04/17     Page 35 of 50
                                             Schedule A-2: Non Collateral First Day Filers
  #                                 PropCo                                                     HoldCo
  27   Summerfree Investments, LLC                                     H21 Summerfree Holding Company, LLC
  28   Pepperwood Investments, LLC                                     M95 Pepperwood Holding Company, LLC
  29   Zestar Investments, LLC                                         H29 Zestar Holding Company, LLC
  30   Gateshead Investments, LLC                                      M10 Gateshead Holding Company, LLC
  31   Beech Creek Investments, LLC                                    H46 Beech Creek Holding Company, LLC
  32   Baleroy Investments, LLC                                        H58 Baleroy Holding Company, LLC
  33   Moravian Investments, LLC                                       H60 Moravian Holding Company, LLC
  34   Quarterpost Investments, LLC                                    M34 Quarterpost Holding Company, LLC
  35   Topchord Investments, LLC                                       M37 Topchord Holding Company, LLC
  36   Silverthorne Investments, LLC                                   M41 Silverthorne Holding Company, LLC
  37   Springline Investments, LLC                                     M36 Springline Holding Company, LLC
  38   Derbyshire Investments, LLC                                     M39 Derbyshire Holding Company, LLC
  39   215 North 12th Street, LLC
  40   Dollis Brook Investments, LLC                                   M32 Dollis Brook Holding Company, LLC
  41   Archivolt Investments, LLC                                      M26 Archivolt Holding Company, LLC
  42   Carbondale Glen Sundance Ponds, LLC
  43   Fieldpoint Investments, LLC                                     M24 Fieldpoint Holding Company, LLC
  44   Anchorpoint Investments, LLC                                    M11 Anchorpoint Holding Company, LLC
  45   White Dome Investments, LLC                                     M43 White Dome Holding Company, LLC
  46   Carbondale Spruce 101, LLC
  47   Carbondale Glen Lot A-5, LLC
  48   Arrowpoint Investments, LLC                                     M19 Arrowpoint Holding Company, LLC
  49   Hackmatack Investments, LLC                                     M87 Hackmatack Hills Holding Company, LLC
  50   Bramley Investments, LLC                                        H40 Bramley Holding Company, LLC
  51   Hazelpoint Investments, LLC                                     M80 Hazelpoint Holding Company, LLC

  52   Broadsands Investments, LLC                                     M28 Broadsands Holding Company, LLC

A-2 Non Coll Filers
                           Case 17-12560-BLS             Doc 1    Filed 12/04/17     Page 36 of 50
                                             Schedule A-2: Non Collateral First Day Filers
  #                                 PropCo                                                      HoldCo
  53   Pinova Investments, LLC                                         H23 Pinova Holding Company, LLC
  54   Seven Stars Investments, LLC                                    H54 Seven Stars Holding Company, LLC
  55   Thunder Basin Investments, LLC                                  M60 Thunder Basin Holding Company, LLC
  56   Papirovka Investments, LLC                                      H22 Papirovka Holding Company, LLC
  57   Lenni Heights Investments, LLC                                  H43 Lenni Heights Holding Company, LLC
  58   Haralson Investments, LLC                                       H39 Haralson Holding Company, LLC
  59   Monadnock Investments, LLC                                      H16 Monadnock Holding Company, LLC
  60   Dixville Notch Investments, LLC                                 H14 Dixville Notch Holding Company, LLC
  61   Pemigewasset Investments, LLC                                   H17 Pemigewasset Holding Company, LLC
  62   Mutsu Investments, LLC                                          H38 Mutsu Holding Company, LLC
  63   Newville Investments, LLC                                       M91 Newville Holding Company, LLC
  64   Lonetree Investments, LLC                                       M54 Lonetree Holding Company, LLC
  65   Black Locust Investments, LLC                                   H28 Black Locust Holding Company, LLC
  66   Crystal Woods Investments, LLC                                  M92 Crystal Woods Holding Company, LLC
  67   Mt. Holly Investments, LLC                                      M83 Mt. Holly Holding Company, LLC
  68   Steele Hill Investments, LLC                                    M86 Steele Hill Holding Company, LLC
  69   Strawberry Fields Investments, LLC                              H9 Strawberry Fields Holding Company, LLC
  70   Grumblethorpe Investments, LLC                                  H41 Grumblethorpe Holding Company, LLC
  71   Mineola Investments, LLC                                        M61 Mineola Holding Company, LLC
  72   Glenn Rich Investments, LLC                                     M85 Glenn Rich Holding Company, LLC
  73   Merrimack Valley Investments, LLC                               M90 Merrimack Valley Holding Company, LLC
  74   Idared Investments, LLC                                         H37 Idared Holding Company, LLC
  75   Carbondale Glen Lot SD-23, LLC
  76   Black Bass Investments, LLC                                     H53 Black Bass Holding Company, LLC
  77   Dogwood Valley Investments, LLC                                 H7 Dogwood Valley Holding Company, LLC
  78   Old Carbon Investments, LLC                                     H51 Old Carbon Holding Company, LLC

A-2 Non Coll Filers
                           Case 17-12560-BLS             Doc 1    Filed 12/04/17     Page 37 of 50
                                             Schedule A-2: Non Collateral First Day Filers
  #                                 PropCo                                                      HoldCo
  79   Stepstone Investments, LLC                                      M5 Stepstone Holding Company, LLC
  80   Carbondale Glen Lot SD-14, LLC
  81   Carbondale Glen Mesa Lot 19, LLC
  82   Carbondale Glen Sweetgrass Vista, LLC

  83   Vallecito Investments, LLC                                      M48 Vallecito Holding Company, LLC

  84   Castle Pines Investments, LLC                                   M53 Castle Pines Holding Company, LLC

  85   Chaplin Investments, LLC                                        M76 Chaplin Holding Company, LLC

  86   Franconia Notch Investments, LLC                                M88 Franconia Notch Holding Company, LLC
  87   Grenadier Investments, LLC                                      H27 Grenadier Holding Company, LLC
  88   Melody Lane Investments, LLC                                    H8 Melody Lane Holding Company, LLC
  89   Ridgecrest Investments, LLC                                     M57 Ridgecrest Holding Company, LLC
  90   Wildernest Investments, LLC                                     M44 Wildernest Holding Company, LLC
  91   Arborvitae Investments, LLC                                     H32 Arborvitae Holding Company, LLC
  92   Carbondale Glen Lot GV-13, LLC
  93   Owl Ridge Investments, LLC                                      M46 Owl Ridge Holding Company, LLC
  94   Wetterhorn Investments, LLC                                     M50 Wetterhorn Holding Company, LLC
  95   Daleville Investments, LLC                                      M72 Daleville Holding Company, LLC
  96   Bear Brook Investments, LLC                                     H15 Bear Brook Holding Company, LLC
  97   Bowman Investments, LLC                                         H49 Bowman Holding Company, LLC
  98   Carbondale Glen Lot E-24, LLC
  99   Coffee Creek Investments, LLC                                   M51 Coffee Creek Holding Company, LLC
 100 Stayman Investments, LLC                                          H24 Stayman Holding Company, LLC
 101 Brise Soleil Investments, LLC                                     M27 Brise Soleil Holding Company, LLC
 102 Brynderwen Investments, LLC                                       M29 Brynderwen Holding Company, LLC
 103 Crossbeam Investments, LLC                                        M14 Crossbeam Holding Company, LLC


A-2 Non Coll Filers
                         Case 17-12560-BLS         Doc 1    Filed 12/04/17     Page 38 of 50
                                       Schedule A-2: Non Collateral First Day Filers
  #                           PropCo                                                     HoldCo
 104 Haffenburg Investments, LLC                                 M56 Haffenburg Holding Company, LLC
 105 Ironsides Investments, LLC                                  M99 Ironsides Holding Company, LLC
 106 Red Woods Investments, LLC                                  M97 Red Woods Holding Company, LLC
 107 Harringworth Investments, LLC                               M33 Harringworth Holding Company, LLC




A-2 Non Coll Filers
                      Case 17-12560-BLS        Doc 1   Filed 12/04/17   Page 39 of 50


                 Schedule B: Other First Day Filers
     #                           Entity Name
     1      Woodbridge Investments, LLC
     2      Woodbridge Capital Investments, LLC
     3      Carbondale Sundance Lot 15, LLC
     4      Carbondale Sundance Lot 16, LLC




B Filers (Other Trust Subs)
                   Case 17-12560-BLS      Doc 1   Filed 12/04/17   Page 40 of 50


 Schedule C: Other Non First Day Filers

   #               Entity Name
   1    WFS Holding Company, LLC




C Non-Filers (Non Trust)
                   Case 17-12560-BLS        Doc 1   Filed 12/04/17   Page 41 of 50


           Schedule D: Brokerage Non Filers

  #                        Entity Name
  1    Riverdale Funding, LLC
  2    Woodbridge Realty of Colorado, LLC
  3    Mercer Vine, Inc.




D Brokerage Non Filers
                        Case 17-12560-BLS       Doc 1    Filed 12/04/17    Page 42 of 50
                                         Schedule E: Inactive Non Filers

  #                     PropCo / Direct Sub                                           HoldCo
  1   1336, LLC
  2   14068 Davana Holding Company, LLC
  3   14068 Davana Terrace, LLC
  4   15672 Castlewoods Drive, LLC
  5   15672 Castlewoods Owners, LLC
  6   15714 Castlewoods Drive, LLC
  7   15714 Castlewoods Owners, LLC
  8   Woodbridge Lending Fund 1, LLC                        81 A Plus Holdings, LLC
  9   Archstone Investments, LLC                            82 M1 Archstone Holding Company, LLC
 10 Ashburton Way Investments, LLC                          83 H88 Ashburton Way Holding Company, LLC
 11 Atalaya Circle Investments, LLC                         84 H79 Atalaya Circle Holding Company, LLC
 12 Bearingside Investments, LLC                            85 M12 Bearingside Holding Company, LLC
 13 Bellmire Investments, LLC                               86 M47 Bellmire Holding Company, LLC
 14 Birchwood Manor Investments, LLC                        87 H85 Birchwood Manor Holding Company, LLC
 15 Boiling Spring Investments, LLC                         88 M81 Boilling Spring Holding Company, LLC
 16 Bonifacio Hill Investments, LLC                         89 H86 Bonifacio Hill Holding Company, LLC
 17 Bowstring Investments, LLC                              90 M20 Bowstring Holding Company, LLC
 18 Breckenridge Investments, LLC                           91 M7 Breckenridge Holding Company, LLC
 19 Breckenridge, LLC
 20 Caisson Investments, LLC                                92 M2 Caisson Holding Company, LLC
 21 Calder Grove Investments, LLC                           93 M30 Calder Grove Holding Company, LLC
 22 Calendonia Circle Investments, LLC
 23 California Commercial Lenders, LLC                      94 H71 Calendonia Circle Holding Company, LLC
 24 Cantilever Investments, LLC                             95 M3 Cantilever Holding Company, LLC
 25 Carbondale Glen Lot E-15, LLC
 26 Carbondale Glen Lot E-38, LLC
 27 Carbondale Glen Lot E-8, LLC


E Inactive Non Filers
                        Case 17-12560-BLS     Doc 1   Filed 12/04/17   Page 43 of 50
  #                     PropCo / Direct Sub                                    HoldCo
 28 Carbondale Glen Lot GV-6, LLC
 29 Carbondale Glen Lot IS - 11, LLC
 30 Casper Falls Investments, LLC                       96 M59 Casper Falls Holding Company, LLC
 31 Clementina Park Investments, LLC                    97 H72 Clementina Park Holding Company, LLC
 32 Cliff Park Investments, LLC                         98 H57 Cliff Park Holding Company, LLC
 33 Conneaut Lake Investments, LLC                      99 H69 Conneaut Lake Holding Company, LLC
 34 Copper Sands Investments, LLC                       100 H87 Copper Sands Holding Company, LLC
 35 Crestmark Investments, LLC                          101 M21 Crestmark Holding Company, LLC
 36 Crosskeys Investments, LLC                          102 M8 Crosskeys Holding Company, LLC
 37 Dixmont State Investments, LLC                      103 H63 Dixmont State Holding Company, LLC
 38 DVDO Design, LLC
 39 DVDO Holding Company, LLC
 40 Elm City Investments, LLC                           104 M98 Elm City Holding Company, LLC
 41 Evergreen Way Investments, LLC                      105 H3 Evergreen Way Holding Company, LLC
 42 Foxridge Investments, LLC                           106 M69 Foxridge Holding Company, LLC
 43 Fulton Underwood, LLC
 44 Glenhaven Heights Investments, LLC                  107 H73 Glenhaven Heights Holding Company, LLC
 45 Golden Gate Investments, LLC                        108 H81 Golden Gate Holding Company, LLC
 46 Graywater Investments, LLC                          109 M78 Graywater Holding Company, LLC
 47 Great Sand Investments, LLC                         110 M55 Great Sand Holding Company, LLC
 48 Harbor Point Investments, LLC                       111 H90 Harbor Point Holding Company, LLC
 49 Hays Investments, LLC                               112 M64 Hays Holding Company, LLC
 50 Hillview Investments, LLC                           113 H42 Hillview Holding Company, LLC
 51 Holly Park Investments, LLC                         114 H84 Holly Park Holding Company, LLC
 52 Holmesburg Investments, LLC                         115 H62 Holmesburg Holding Company, LLC
 53 Ingleside Path Investments, LLC                     116 H78 Ingleside Path Holding Company, LLC
 54 Irondale Inn Investments, LLC                       117 H48 Irondale Inn Holding Company, LLC
 55 Ivy Circle, LLC
 56 Junipero Serra Investments, LLC                     118 H80 Junipero Serra Holding Company, LLC


E Inactive Non Filers
                        Case 17-12560-BLS     Doc 1   Filed 12/04/17   Page 44 of 50
  #                     PropCo / Direct Sub                                     HoldCo
 57 Lockwood Investments, LLC                           119 M52 Lockwood Holding Company, LLC
 58 New Montgomery Investments, LLC                     120 H77 New Montgomery Holding Company, LLC
 59 Orchard Mesa Investments, LLC                       121 M42 Orchard Mesa Holding Company, LLC
 60 Pacific Heights Investments, LLC                    122 H75 Pacific Heights Holding Company, LLC
 61 Pearmain Investments, LLC                           123 H34 Pearman Holding Company, LLC
 62 Pembroke Academy Investments, LLC                   124 M84 Pembroke Academy Holding Company, LLC
 63 Phillipsburg Investments, LLC                       125 M65 Phillipsburg Holding Company, LLC
 64 Powel House Investments, LLC                        126 H67 Powel House Holding Company, LLC
 65 RHS Capital, LLC
 66 SAC Holding Company of Aspen, LLC
 67 SAC Management, LLC
 68 Saddlemount Investments, LLC                        127 M35 Saddlemount Holding Company, LLC
 69 Seacliff Run Holding Company, LLC                   128 H83 Seacliff Run Holding Company, LLC
 70 Sidespar Investments, LLC                           129 M4 Sidespar Holding Company, LLC
 71 Sightline Investments, LLC                          130 M23 Sightline Holding Company, LLC
 72 Silverbaron Investments, LLC                        131 H1 Silverbaron Holding Company, LLC
 73 Texas Co-Lenders 01, LLC
 74 Trestlewood Investments, LLC                        132 M6 Trestlewood Holding Company, LLC
 75 Twin Pier Investments, LLC                          133 M18 Twin Pier Holding Company, LLC
 76 U Street Holdings, LLC                              134 H82 Van Ness Holding Company, LLC
 77 Van Ness Investments, LLC                           135 H89 Vista Verde Holding Company, LLC
 78 Vista Verde Investments, LLC
 79 Winnisquam Investments, LLC                         136 M82 Winnisquam Holding Company, LLC
 80 Woodbridge Luxury Homes, LLC                        137 L1 Luxury Holdings, LLC
                                                        138 H45 Harmony Inn Holding Company, LLC
                                                        139 H64 Pennhurst Holding Company, LLC




E Inactive Non Filers
                      Case 17-12560-BLS     Doc 1   Filed 12/04/17    Page 45 of 50


                         Schedule F: Filers Under Woodbridge Group of Companies

  #                          HoldCo                                  Subsidiary of HoldCo
  1   Woodbridge Structured Funding, LLC                Cuco Settlement, LLC
  2   Basswood Holding, LLC




F Filers (WGC Subs)
                  Case 17-12560-BLS       Doc 1   Filed 12/04/17   Page 46 of 50


    Schedule G-1: Filers Under WMF Management, LLC
    #                       Entity Name
    1       Woodbridge Mezzanine Fund 1, LLC




G-1 Filers (WMF Subs)
                  Case 17-12560-BLS        Doc 1   Filed 12/04/17   Page 47 of 50


  Schedule G-2: Other Subsidiaries of WMF Management LLC

  #                          Entity Name
  1    Woodbridge Guarantee, LLC
  2    Woodbridge Guarantee Holding, LLC




G -2 Non Filers (WMF Subs)
                           Case 17-12560-BLS     Doc 1    Filed 12/04/17   Page 48 of 50


         Schedule H-1: Other Subsidiaries of WMF Management, LLC
     #                                  HoldCo

     1       Carbondale Glen Lot D-22, LLC
     2       Whiteacre Funding, LLC
     3       Silverleaf Funding, LLC




H-1 Filers (Fund 1 subs)
                   Case 17-12560-BLS   Doc 1   Filed 12/04/17   Page 49 of 50


          Schedule H-2: Non Filers

    #                  Entity Name
     1     Alpine Rose, LLC




H-2 Non-Filers (Fund 1 Subs)
                    Case 17-12560-BLS        Doc 1   Filed 12/04/17   Page 50 of 50



  Schedule I: Subsidiaries of Woodbridge Investment Fund 4

     #                         Entity Name
     1      Foothill CL Nominee, LLC




I Non Filers (Fund 4 Subs)
